             Case 5:22-cv-00414-G Document 1 Filed 05/20/22 Page 1 of 8




                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF OKLAHOMA

TWIN ROCK PARTNERS, LLC                      §
                                             §
v.                                           §
                                             §     Case No. CIV-22-414-G
UNDERWRITERS AT LLOYDS,                      §
LONDON                                       §      JURY DEMANDED
and VANGUARD CLAIMS                          §
ADMINISTRATION, INC.                         §
                                             §

                       DEFENDANT’S NOTICE OF REMOVAL

       Defendant Vanguard Claims Administration, Inc. files this Notice of Removal

pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 as follows:

                                I. N ATURE OF THE S UIT
       1.      This lawsuit arises from a series of three insurance claims made by Plaintiff

Twin Rock Partners, LLC (“Plaintiff” or “Twin Rock”) under a policy of property

insurance issued to Plaintiff by Defendant Underwriters at Lloyd’s, London

(“Underwriters”). Plaintiff asserts causes of action for breach of contract and common

law bad faith arising out of the alleged non-payment or underpayment of its insurance

claims.     Plaintiff seeks punitive damages as well as actual damages, attorney fees,

interest, and costs.

                           II. P ROCEDURAL B ACKGROUND
       2.      On March 3, 2020, Plaintiff filed a “Petition for Appointment of Neutral

Umpire” in the District Court of Oklahoma County, Oklahoma, bearing Cause No. CJ-

2020-1259 (“the Umpire Action”). See Exhibit 1. On April 2, 2020, Plaintiff amended


                                             1
           Case 5:22-cv-00414-G Document 1 Filed 05/20/22 Page 2 of 8




the Petition for Appointment of Neutral Umpire without ever having served the original

Petition on any defendant. See Exhibit 2. Plaintiff served the Amended Petition for

Appointment of Neutral Umpire on Underwriters via the Oklahoma Department of

Insurance on April 16, 2020. See Exhibit 3. At that time, the suit was not an action for

damages, but was merely a request to appoint an umpire in a pending appraisal on one of

the three insurance claims which are the subject of the state court suit in its current

incarnation. On August 6, 2020, upon being informed of the parties’ previous agreement

to an umpire, Plaintiff’s counsel actively represented he would dismiss the Umpire

Action. See Exhibit 10.

      3.     Plaintiff did not dismiss the Umpire Action as promised. Instead, on April

5, 2021, while the appraisal was still under way, and before any alleged breach of

contract could have become ripe, Plaintiff filed an “Amended Petition” converting the

Umpire Action into a suit for breach of contract on all three insurance claims (the

“Breach of Contract Action”). See Exhibit 4. There is no evidence in the state court’s

record that Plaintiff requested a summons or made any other effort to serve the Breach of

Contract Action on Underwriters, which would have given notice to Underwriters that

Plaintiff was seeking breach of contract damages. See Exhibit 9. Plaintiff allowed the

Breach of Contract Action to sit for nearly a year without serving Underwriters. At no

time during this period did Plaintiff’s counsel notify Underwriters of the Breach of

Contract Action by any means, although the parties and their counsel were working to

complete the ongoing appraisal and had an established channel of communication.



                                           2
           Case 5:22-cv-00414-G Document 1 Filed 05/20/22 Page 3 of 8




      4.       On March 28, 2022, Plaintiff filed a Second Amended Petition adding

causes of action for bad faith as to all three insurance claims (“the Bad Faith Action”).

See Exhibit 5. On April 1, 2022, Plaintiff served the Bad Faith Action on Underwriters

via the registered agent listed on the face of the insurance policy. See Exhibit 6. This

date, less than 60 days ago, was the first time any defendant became aware it was now

the target of either breach of contract claims or bad faith claims in an umpire appointment

action which was already over two years old, and which Underwriters had been actively

told would be dismissed based upon the parties’ agreement to an umpire over two years

earlier. Underwriters’ only knowledge of the state court action prior to that point had

been as a routine umpire appointment proceeding which had long been resolved and

which it believed had been dismissed by agreement.

      5.       On April 13, 2022, Plaintiff filed a Third Amended Petition, for the first

time naming Vanguard and asserting bad faith claims against Vanguard. See Exhibit 7.

Vanguard was served with the Third Amended Petition on April 25, 2022. See Exhibit

8.

      6.       This Notice of Removal is timely filed within the 30-day statutory time

period for removal under 28 U.S.C. § 1446(b)(1), being filed within 30 days after service

on Vanguard.

      7.       Although an action with the same cause number has been pending in

Oklahoma County for nearly two years, Plaintiff used the original Umpire Action, which

alleged no damages, as a procedural vehicle or placeholder to prevent removal by

gradually adding new claims and damages to an existing state court cause number, not

                                            3
            Case 5:22-cv-00414-G Document 1 Filed 05/20/22 Page 4 of 8




serving intervening amended pleadings that functionally initiated a new lawsuit on

Underwriters for nearly two years, and not disclosing its alleged damages at the outset of

the litigation, thus preventing any defendant from having any knowledge of the true

nature and scope of the dispute and the amount in controversy until April 2022 at the

earliest, when the state court cause number had been in existence for over two years,

although it was functionally three different lawsuits. Thus, the Court should consider this

removal timely filed under 28 U.S.C. § 1446(c)(3)(B) as a result of Plaintiff’s actions,

which were calculated to prevent any Defendant from being aware of the damages sought

within one year after the Umpire Action was first filed.

                              III. B ASIS FOR R EMOVAL
       8.     This Court has original diversity jurisdiction under 28 U.S.C. § 1332 over

this civil action, and the action may be removed by Underwriters pursuant to 28 U.S.C. §

1441(b), as it is a civil action between citizens of different states, and the matter in

controversy exceeds the sum of $75,000, exclusive of interest and costs.

       9.     The parties are diverse. Plaintiff Twin Rock is organized under the laws

of Delaware and has its principal place of business in Irvine, California, and thus is a

citizen of Delaware and California for diversity purposes. On the other hand, no

defendant is a citizen of Delaware or California.          Defendant Vanguard, Inc. is

incorporated in New Jersey and has its principal place of business in Woodbury, New

Jersey, and thus is a citizen of New Jersey for diversity purposes.             Defendant

Underwriters is an unincorporated association of Lloyd’s Syndicates, which are all

citizens of the United Kingdom for diversity purposes.

                                             4
             Case 5:22-cv-00414-G Document 1 Filed 05/20/22 Page 5 of 8




       10.      All defendants consent to the removal. Defendants Underwriters and

Vanguard are jointly represented by the undersigned, and Underwriters consents to this

removal. Under 28 U.S.C. § 1446(b)(2)(C), Underwriters may consent to this removal

more than 30 days after service on Underwriters

       11.      Amount in controversy. Plaintiff’s Third Amended Petition alleges facts

suggesting it is seeking actual damages exceeding $5 million, and also seeks punitive

damages and attorney fees.         The policy limit of the insurance policy issued by

Underwriters to Plaintiff is $5 million per occurrence for all insured properties, and the

current bad faith suit involves three claims allegedly arising out of different occurrences.

It appears reasonably likely the amount in controversy exceeds $75,000 as to each

Lloyd’s Syndicate which may be severally liable for a portion of the loss, and this

removal is therefore proper under 28 U.S.C. §1332.

       12.      Removal to the Western District of Oklahoma is proper because the state

court action is pending in Oklahoma County, which is part of the Western District.

       13.      In compliance with 28 U.S.C. § 1446(a) and Local Civil Rule 81.2,

Vanguard files with this Notice of Removal (a) all executed process, (b) all pleadings

asserting causes of action, (c) all orders signed by the state court judge, and (d) the state

court docket sheet.     See attached Exhibits A-I.      Vanguard will separately file its

Corporate Disclosure in compliance with FED. R. CIV. P. 7.1.

       14.      In compliance with 28 U.S.C. § 1446(d), Vanguard hereby certifies it will

promptly notify the clerk of the court in the state court action and all adverse parties of

this removal.

                                             5
            Case 5:22-cv-00414-G Document 1 Filed 05/20/22 Page 6 of 8




                             IV. C ONCLUSION AND P RAYER
      15.       The basis for this removal and this Court’s jurisdiction is diversity of

citizenship under 28 U.S.C. §1332 because Plaintiff is a citizen of Delaware and

California, while Defendants are citizens of New Jersey and the United Kingdom,

respectively. The amount in controversy appears reasonably likely to exceed $75,000 as

to each Lloyd’s Syndicate, exclusive of interest and costs. As such, this removal is

proper under 28 U.S.C. §1441. On these grounds, Defendant Vanguard hereby removes

the referenced State Court Action to this Court with the consent of Defendant

Underwriters.

      16.       Defendant demands a jury in this removed action.

      17.       THEREFORE,       Defendant     Vanguard   Claims   Administration,    Inc.

respectfully requests that the above-entitled action be removed from the District Court of

Oklahoma County, Oklahoma to the United States District Court for the Western District

of Oklahoma.



                                         Respectfully submitted,

                                         /s/ Michael D. Duncan
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                                         and



                                               6
         Case 5:22-cv-00414-G Document 1 Filed 05/20/22 Page 7 of 8




                                 /s/ Christopher W. Martin
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                                 DEFENDANTS


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                                     7
          Case 5:22-cv-00414-G Document 1 Filed 05/20/22 Page 8 of 8




                           CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of Defendant’s Notice of Removal
was served this 20th day of May, 2022 on the following counsel of record in compliance
with the Federal Rules of Civil Procedure by the method specified:

      Gerard F. Pignato                   Electronic delivery via CM/ECF
      RYAN WHALEY
      400 North Walnut Avenue
      Oklahoma City, OK 73104
      Aaron Stiles                        Electronic delivery via CM/ECF
      DOWNTOWN LEGAL GROUP
      114 West Main Street
      Norman, OK 73069

                                              /s/ Amber R. Dunten
                                              Amber R. Dunten




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